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NOT FOR PUBLICATION


                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY



  UNITED STATES OF AMERICA,
                                                    Crim. No. 10-471 (SDW)


  v.                                                ORDER

  NEVIN SHAPIRO,
                                                    September 20, 2024
                 Defendant.


WIGENTON, District Judge.

       THIS MATTER having come before this Court upon pro se Defendant Nevin Shapiro’s

(“Defendant”) Motion for Compassionate Release (D.E. 53 (“Motion”)) under the First Step Act,

18 U.S.C. § 3582(c)(1)(A)(i), and this Court having considered the parties’ submissions, for the

reasons set forth in this Court’s Opinion dated September 20, 2024,

       IT IS, on this 20th day of September 2024,

       ORDERED that Defendant’s Motion is DENIED.

       SO ORDERED.

                                                          /s/ Susan D. Wigenton
                                                      SUSAN D. WIGENTON, U.S.D.J.


Orig: Clerk
cc:   Parties
